Filed 11/05/19                           Case 19-21640                                          Doc 169
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                                                                            NOV -5 2019
        1                        UNITED STATES BANKRUPTCY COURT
                                                                     UNITED STATES BANKRUPTCY
                                                                      EASTERN DSrRicT OF CLIF
       2                         EASTERN DISTRICT OF CALIFORNIA
       3
            In re:                                       Case No. 19-21640-B--7
       4
            DEBORA LEIGH MILLER-ZURANICH,                DC No. PLC-8
       5
       6                           Debtor(s).
       7
        8                   ORDER DENYING MOTION FOR RECONSIDERATION
       9
            Introduction
      10
                 The court has before 1t a motion, filed by debtor Debora
      11
            Miller-Zuranich ("Debtor"), for reconsideration of the order
      12
            converting this case from a Chapter 11 case to a Chapter 7 case.
      13
            Docket 152. The motion is opposed by creditor OCRE Investment
      14
            Fund I, LLC ("OCRE"). Docket 163. Creditor Hall Mortgage Fund,
      15
            LLC ("Hall") filed a joinder to OCRE's opposition. Docket 165.
       16
                 The court has reviewed the motion, opposition, and all
       17
            related declarations and exhibits. The court has also reviewed
      18
            and takes judicial notice of the docket and the claims register
       19
            in this case.
      20
                 The court has determined that oral argument will not assist
      21
            in the resolution of the motion for reconsideration. See Local
      22
            Bankr. R. 9014-1(h). The hearing set for November 5, 2019, at
      23
            9:30 a.m. will therefore be vacated. Coss v. Caliber Homes,
      24
            Inc./Fidelity, 2019 WL 1469251,     *1 (D. Ariz. 2019) (oral argument
      25
            not mandatory before ruling on motion to reconsider) . Findings
      26
            of fact and conclusions of law are set forth below. See Fed. R.
      27
            Civ. P. 52(a); Fed. R. Bankr. P. 7052. And f or the reasons set
      28
            forth below, the motion for reconsideration will be denied.
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       1   Background
       2         This case was initially filed asa Chapter 13 case. Docket
       3   1. After the court determined that the Debtor was ineligible for
       4   Chapter 13 relief under 11 U.S.C. § 109(e), the court provided
       5   the Debtor with an option to convert to Chapter 11 or dismiss.
       6   Dockets59-61. The Debtor chose conversion, Docket 62, and this
       7   case was converted from a Chapter S 13 case to a Chapter 11 case on
       8   July 3, 2019. Docket 64. No trustee was appointed and the
       9   Debtor operated as a debtor in. possession.
      10         Following conversion, on August 28, 2019, the court filed
      11   its standard Chapter 11 scheduling order which set a status
      12   conference for October 8, 2019. Docket 93 at 1:20-22. The
      13   scheduling order imposed several important case administration
      14   and substantive obligations on the Debtor that were to be
      15   completed before the status conference. Id. at 1:13-2:23, 4:12-
      16   19. It also warned the Debtor of potential consequences of
      17   conversion, dismissal, or the appointment of a trustee if she
      18   failed to timely perform her court-ordered obligations. Id. at
       19 I 2:24-28.
      20         One week prior to the status conference, on September 30,
      21   2019, OCRE filed a motion to dismiss or convert the Chapter 11
      22   case to a Chapter 7 case. Dockets 118-122. On October 1, 2019,
      23   Hall filed a joinder in OCRE's motion and also filed a separate
      24   motion to dismiss with a 180-day bar to ref iling. Dockets 123-
      25    128. Both motions (collectively, the"Motions") were set for
      26   hearing in conjunction with the October 8, 2019, status
      27    conference. In that regard, the Motions were consistent with and
      28   i timely under the scheduling order which states as follows:
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        1        Any party may request at the preliminary status
                 conference that the case be converted to another
       2         chapter or dismissed, or that a chapter 11 trustee be
                 appointed, provided that a motion requesting such
       3         relief is filed and served on those persons entitled to
                 notice (see Fed. R. Bankr. P. 2002(a) (4))) at least
       4         seven calendar days prior to the preliminary status
                 conference. Opposition may be presented orally at the
       5         preliminary status conference.
       6    Docket 93 at 4:6-11.
       7         With regard to the Debtor's scheduling order obligations, by
       8    September 6, 2019, the Debtor was to serve the scheduling order
       9    on numerous parties in interest and any attorney representing a
      10    party in interest. Id. at 1:24-2:2, 1:14-15. Within three days
      11    thereafter the Debtor was to file proof that the scheduling order
      12    was served. Id. at 2:1-2. The scheduling order also required
      13    the Debtor to file and serve a single asset real estate
      14 Ideclaration by September 13, 2019, id. at 4:12-14, 1:16-18, and a
       15   status report by September 20, 2019. Id. at 2:2-3, 1:18-19.
       16        The status conference was held on October 8, 2019. The
       17   Debtor appeared personally with her attorney, an associate of
       18   counsel of record.' Docket 162 at 3:6-8. As they were noticed,
       19   the Motions were heard during the status conference. Dockets
      20    147, 162.
      21         The court initially noted that the Debtor had not complied
      22    with any aspect of the scheduling order. The scheduling order
      23    was never served and therefore the required certificate of
      24
      25
                 1That the Debtor appeared personally is noteworthy. The
      26    court notes that debtors rarely, if ever, appear at status
      27    conferences. The Debtor's appearance is indicative of her
            understanding of the status conference's significance based on
      28    matters then before the court.

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        ii service was not filed. The single asset real estate declaration

       21 and the status report were also not timely filed and served. In

       3    fact, both were filed on October 7, 2019, the day before the
       4    status conference. Dockets 129, 131. The court found the
       5    Debtor's noncompliance with the scheduling order to be cause for
       6    dismissal or conversion under 11 U.S.C. § 1112(b) (4) (E). Docket
       7    162 at 4:25-5:25.
       8         The court also noted that the Debtor used OCRE's cash
       9    collateral without express consent or court authorization. 2 The
      10    court found this to be cause for dismissal or conversion under 11
      11    U.S.C. § 1112(b) (4) (D) .    Id. at 6:1-24.
      12         The court further identified acts of gross mismanagement by
      13    the Debtor. Noting that the Debtor, as a debtor in possession,
      14    is a fiduciary to creditors and the estate the court found that
      15    the Debtor breached her fiduciary duties by the unauthorized use
      16    of cash collateral, the lack of care regarding management and
      17    disclosure of the estate's finances, income, and rental
      18    properties, and an apparent manipulation of the schedules. The
       19   court found this conduct to be cause for dismissal or conversion
      20    under 11 U.S.C. § 1112(b) (4) (3).     Id. at 6:25-7:16.
      21         And the court noted that no operating reports had been filed
      22    following the July 2019 conversion to Chapter 11. The court
      23    found this to be cause for dismissal or conversion under 11
      24    U.S.C. § 1112(b) (4) (F) .3   Id. at 7:17-20.
      25

      26
                 2   The Debtor now admits as much. Docket 153 at 2:8-10.
      27
                The Debtor apparently also did not pay the United States
                 3

      28 itrustee fee required by Chapter 123, Title 28. See Claim No. 6-

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        1         The court concluded that the cumulative effect of the
       2    Debtor's above-described conduct was that she had mismanaged the
       3    estate and not properly prosecuted the Chapter 11 case. Id. at
       4    7:21-8:18. And viewing that conduct under the totality of the
       5    circumstances which included the Debtor's history of filing
       6    multiple nonproductive bankruptcy cases within a short period of
       7    time, the court found additional cause for dismissal or
        8   conversion under 11 U.S.C. § 1112(b) (4) for bad faith. 4 Id.
       9          When the court finished with its recitation of cause it
      10    provided the attorneys who appeared with an opportunity to be
      11    heard. Debtor's attorney did not object to the court's findings
      12    of cause, did not mention that the Debtor was ill-prepared to
      13    proceed with the hearing on the Motions, and did not request
       14   additional time or a continuance to submit a response. Instead,
       15   Debtor's attorney substantively opposed the merits of the Motions
       16   by presenting details of a Chapter 11 plan which would be filed
       17   in six weeks and which would provide for the payment of creditors
       18   through the sale of one of the Debtor's properties and the
       19   refinance of others. Docket 162 at 11:21-12:23. Inasmuch as the
      20    proposal to file a plan provided the court with no unusual
      21
      22    1. This is yet additional cause for dismissal or conversion
            under 11 U.S.C. § 1112(b) (4) (K).
      23
      24          This is the Debtor's fifth bankruptcy case filed in the
                  4

            past two years.  The other four nonproductive cases - filed in
      25    Northern District of California - are as follows:
            Case No.        Filed          Dismissed      Reason
      26    17-31036-FILE   10/16/17       11/03/17       Failure   to file docs
            18-31023-HLB    09/18/18       11/08/18       Failure   to file docs
      27    18-31252-HLB    11/20/18       12/21/18       Failure   to pay filing
                                                          fee
      28    19-30034-HLE    01/11/19       01/28/19       Failure   to file docs

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       1   circumstances that justified not dismissing or converting the
       2   case under 11 U.S.C. § 1112(b) (2), Id. at 13:22-23, based on the
       3   cause recited, the court concluded that conversion was in the
       4   best interest of creditors and the estate for two reasons: (1)
       5   the schedules reflected sufficient non-exempt equity from which
       6   creditors would likely be paid in full, 5 Docket 162 8:22-9:10,
       7   and (2) dismissal, even with a bar to ref iling, would not prevent
       8   the Debtor from impermissibly ref iling in an attempt to trigger
           the automatic stay of § 362 (a) resulting in additional delay and
      10   expense. Id. at 9:11-24. Orders granting OCRE's motion to
      11   convert, denying OCRE's motion to dismiss, and denying Hall's
      12   motion to dismiss as moot were entered on October 10, 2019.
      13   Dockets 139-140; see also Docket 162 at 14:8-19. The present
      14 I motion for reconsideration followed on October 21, 2019. Docket
      15 I 152.
      16          The Debtor now states for the first time in her motion for
      17   reconsideration that she did not respond to the Motions because
      18   her attorney relied on information received from OCRE's attorney
      19   on October 4, 2019, that the Motions would be heard on October
      20   22, 2019, and not during the October 8, 2019, status conference.
      21   Docket 155 at 2:1-6. OCRE's attorney acknowledges that he
      22   received this information from the court and he does not dispute
      23   that he mentioned it to Debtor's attorney. Docket 164 at 2:9-11.
      24   OCRE's attorney also states that he received a voicemail from the
      25

      26         The Debtor's statement that she has "less than $2,000 in
                  5

      27   unsecured debt", Docket 152 at 4:4, is not accurate and another
           indication of the Debtor's lack of comprehension of her finances
      28   and the financial aspects of this case. See Claims Register.

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        1   court at 9:18 a.m. on October 7, 2019, informing him that the
       2    Motions would be heard on October 8, 2019, during the status
       3    conference as noticed. Id. at 2:12-14. The court takes judicial
       ru   notice that seventeen minutes after that voicemail, at 9:35 a.m.,
        5   information consistent with the voicemail was posted on the
       6    court's website. The significance of the website posting is
       7    discussed further below.
        8
       9    Discussion
      10    Civil Rule 59(e)
      11         Debtor moves for reconsideration of the Chapter 7 conversion
      12    order on the basis of excusable neglect under Federal Rule of
      13    Civil Procedure ("Civil Rule") 60(b)(1) (applicable by Federal
       14   Rule of Bankruptcy Procedure ("Bankruptcy Rule") 9024). Docket
       15   152 at 3:3-5:3. Debtor's motion is based on the wrong legal
       16 I standard.
       17        A motion for reconsideration filed within fourteen days
       18   after the entry of a judgment is treated as a motion to alter or
       19   amend the judgment under Civil Rule 59(e) (applicable by
      ,iI Bankruptcy Rule 9023) rather than a motion for relief from the
                                              •6
      21    judgment under Civil Rule 60(b)            American Ironworks &
      22    Erectors, Inc. v. North American Const. Corp., 248 F.3d 892, 898-
      23    99 (9th Cir. 2001) (citation and internal quotations omitted);
      24    Metha v. Lipworth, 2014 WL 1092212,    *1 (E.D. Cal. 2014) (citation
      25    omitted) . The Chapter 7 conversion order was entered on October
      26
      27
                judgment includes an order from which an appeal lies. See
                 6

      28 IFed. R. Civ. P. 54(a); Fed. R. Bankr. P. 7054.

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        1   10, 2019. The Debtor filed her motion f or reconsideration eleven       I
       2    days later on October 21, 2019. Filed within fourteen days of
       3    the entry of the Chapter 7 conversion order, the motion for
       4    reconsideration is governed by Civil Rule 59(e) and not Civil
       5    Rule 60 (b)
       6         Relief under Civil Rule 59(e) is an extraordinary remedy
       7    used sparingly. Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111
        8   (9th Cir. 2011). Generally, there are four grounds upon which a
        9   Civil Rule 59(e) motion may be granted: (1) to correct manifest
      10    errors of law or fact; (2) to present newly discovered or
      11    previously unavailable evidence; (3) if such motion is necessary
      12    to prevent manifest injustice; or (4) if justified by an
       13   intervening change in controlling law.
       14        Debtor cites no error of law or fact, no newly discovered
       15   evidence, and no intervening change in controlling law. The
       16   first, second, and fourth grounds are therefore inapplicable.
       17   That leaves the third ground,   i.e., whether relief is necessary
       18   to prevent manifest injustice, as the only potential basis for
       19   relief under Civil Rule 59(e). The Debtor has not met that
      20    standard.
      21          "Manifest injustice exists where there is a flaw in the
      22    court's decision that without correction would lead to
      23    inequitable results." Quintero v. Palmer, 2017 WL 384693,      *5 (D.

      24    Nev. 2017) . Debtor identifies no flaw in the court's decision to
      25    convert the Chapter 11 case to a Chapter 7 case or an inequitable
      26    consequence resulting therefrom.
      27          The Debtor did not (and does not) dispute the numerous
      28    instances of cause recited by the court. Indeed, several are

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        1   indisputable,   i.e., noncompliance with the scheduling order, use
       2    (as admitted) of cash collateral without consent or court
       3    authorization, the absence of operating reports, and apparently
       4    now nonpayment of the United States trustee fees. Inasmuch as
       5    conversion is supported by sufficient cause and the absence of
       6    unusual circumstances, and because conversion is in the best
       7    interest of creditors and the estate for the reasons stated
       8    above, the Debtor has not identified any fundamental flaw in the
            court's decision to convert. 7 The Debtor also has not
      10    demonstrated that - under the facts of this case - conversion is
      11    inequitable.
      12         There is nothing inequitable about requiring attorneys to
      13    monitor the court's docket. See Delaney v. Alexander (In re
      14 I Delaney), 29 F.3d 516, 518 (9th Cir. 1994) (citations and
      15    quotations omitted); Willis v. JPMorgan Chase Bank, N.A., 2017 WL
      16    5665834, *2 (E.D. Cal. 2017) . Indeed, given the widespread
      17    availability of electronic dockets, the district court has
       18   described this duty as imposing a "minimal burden on counsel[.]"
       19   Willis, 2017 WL 5665834,   *2 at n.2. Requiring attorneys to
      20    monitor the docket is also consistent with the local rules which
      21    advise counsel to check posted tentatives prior to any calendared
      22    hearing to determine if the matter is resolved or will be heard.
      23    See Local Bankr. R. 9014-1(h).
      24
      25
                 7 The court rejects the Debtor's suggestion that it must
      26    consider her interests and therefore must consider her preference
      27    in the sale of property. When determining whether to dismiss or
            convert the court considers the best interests of creditors and
      28    the estate, not the debtor. See 11 U.S.C. § 1112(b) (1).

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       1         In the context of this case, Debtor's attorney is well aware
       2   of this court's practice of posting tentative decisions on its
       3   website the day before noticed hearings. Debtor's attorney is
       4   also well aware that a matter on the posted tentative calendar
       5   will be called and heard in the absence of an express statement
       6   that the matter is resolved without oral argument, removed, and
       7   an appearance is not necessary or if a particular matter is
       8   blank.
       9         Consistent with that practice, at 9:35 a.m. on October 7,
      10   2019, the court posted on its website the tentative ruling
      11   calendar for the October 8, 2019, 2:00 p.m. hearings. That
      12   posting included no disposition for the Motions, both of which
      13   were blank. See Appx. A at Items 6-7. Debtor's attorney
      14   therefore knew or should have known that the court did not
      15   continue - and that it intended to call and hear - the Motions
      16   during the status conference as they were noticed.
      17         More important, at no time during the status conference did
      18   the Debtor or her attorney state they were somehow misinformed
      19   about the court's intent to hear the Motions or that they were
      20   ill-prepared to address them as the Debtor now claims. The
      21   Debtor and her attorney also did not ask for additional time or a
      22   continuance to permit the filing of an additional response.
      23   Quite the contrary. Debtor's attorney proceeded to explain how,
      24   if the case was not dismissed or converted, the Debtor would
      25   propose a plan that provided for the sale of one of her
      26   properties, the refinance of other properties, and the payment of
      27   creditors. Stated another way, Debtor's attorney substantively
      28   opposed the merits of the Motions during the status conference

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        1   just as the scheduling order contemplated.
       2         The arguments the Debtor now makes for the first time on
       3    reconsideration,   i.e., that she relied on information from OCRE's
       4    attorney and was ill-prepared to address the Motions, are too
       5    late. They are arguments the Debtor could (and should have) made
       6    during the October 8, 2019, status conference. Making those
       7    arguments now - for the first time on reconsideration - and
       8    making them on the basis that the Debtor desires to propose a
       9    plan that provides for the sale of a particular property
      10    contravenes Civil Rule 59(e) on two levels. A Civil Rule 59(e)
      11    motion is not a vehicle by which to raise arguments or present
      12    evidence for the first time which could have been raised or
      13    presented earlier, School Dist. No. lJ, Multnomah County, Or. v.
      14    ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993), and it is not a
      15    vehicle to reargue issues already argued, Ironworks, 248 F.3d at
       16
       17        In short, the Debtor argues the wrong standard of relief on
       18   reconsideration. And as to the applicable standard, the Debtor
       19   has not demonstrated that relief from the Chapter 7 conversion
      20    order is necessary or warranted under Civil Rule 59(e) in order
      21    to prevent manifest injustice. Debtor's motion for
      22    reconsideration will therefore be denied.
      23    Civil Rule 60(b)
      24         The motion will also be denied to the extent - or even if -
      25    considered under Civil Rule 60(b) (1).
      26         Initially, similar to a Civil Rule 59(e) motion, "a Rule
      27    60(b) (1) reconsideration motion should not merely present
      28    arguments previously raised, or which could have been raised in

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        1   the original briefs." Hassan v. Corelogic Credco, 2016 WL
       2    8731108, *2 (E.D. Cal. 2016) (quoting San Luis & Delta-Mendota
        3   Water Auth. v. U.S. Dep't of Interior, 624 F. Supp. 2d 1197, 1208
       4    (E.D. Cal. 2009) , aff'd, 672 F.3d 676 (9th Cir. 2012))
        5   Therefore, to the extent the Debtor's motion for reconsideration
       6    fails on this basis under Civil Rule 59(e) it also fails for the
       7    same reason under Civil Rule 60 (b)
        8        Moreover, relief for excusable neglect under Civil Rule
       9    60(b) (1) is governed by the Pioneer-Briones factors, i.e., (1)
      10    the danger of prejudice to any non-moving party if an order is
      11    vacated; (2) the length of delay and potential impact of the
      12    delay on judicial proceeding; (3) the reason for the delay and
      13    whether within movant's control; and (4) whether the conduct was
      14    in good faith. Pioneer Inv. Servs. v. Brunswick Assocs. Ltd.
      15    P'ship, 507 U.S. 380, 395 (1993); Briones v. Riviera Hotel &
       16   Casino, 116 F.3d 379, 381 (9th Cir. 1997) . The court has
       17   considered each of the factors and determines that overall they
       18   weigh against relief.
       19        The first factor weighs, against relief. Under the
      20    circumstances described above in which the Debtor has breached
      21    her fiduciary duties, grossly mismanaged the estate, not properly
      22    prosecuted the Chapter 11 case, and engaged in conduct indicative
      23    of bad faith it would be prejudicial to creditors and detrimental
      24    to the estate to vacate the Chapter 7 conversion order, divest
      25    the Chapter 7 trustee of control, and restore the Debtor to her
      26    position as a debtor in possession. Stated another way, the
      27    court has greater confidence in the Chapter 7 trustee's ability
      28    to properly administer the estate in a manner consistent with the

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        ii Bankruptcy Code than it does in the Debtor's ability to do the
            same.
        3           The second factor weighs in favor of relief. The Chapter 7
        4   conversion order was entered on October 10, 2019. The Debtor
        5   moved for reconsideration of that order eleven days later on
        6   October 21, 2019. Delay is therefore minimal.
        7           The third factor weighs against relief. This factor has
        8   been characterized as the most significant factor. See Gibbons
        9   v. U.S., 317 F.3d 852, 854 (8th Cir. 2003). In fact, the Ninth
       10   Circuit has recognized that the third factor alone may preclude a
       11   finding of excusable neglect. See Farraj v. Cunningham, 659 Fed.
      12    Appx. 925, 927-28 (9th Cir. 2016) . Here, the third factor tracks
      13    the manifest injustice analysis in that it was well within the
       14   control of the Debtor and her attorney to (1) review the docket
       15   and the October 7, 2019, posted tentative calendar to determine
       16   if the court intended to continue or hear the Motions, and, (2)
       17   request additional time or a continuance if ill-prepared to
       18   address the Motions as they were noticed. More important for
       19   purposes of this factor is that there is no explanation of any
      20    circumstances beyond the control of the Debtor or her attorney
      21    that prevented either.
      22            The fourth factor weighs against relief. The Debtor's
      23    above-described conduct in this case is consistent with her prior
      24    conduct in her four other non-productive bankruptcy cases and is
      25    therefore indicative of bad faith and filing bankruptcy cases for
      26    an improper purpose. This factor weighs against relief.
      27            In short, the Debtor has not established excusable neglect.
      28    Therefore, to the extent the Debtor's motion for reconsideration

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        1   is governed by Civil Rule 60 (b), relief under Civil Rule 60 (b) (1)
       2    is denied. Additionally, to the extent the Debtor's motion for
       3    reconsideration mentions Civil Rule 60(b) (6) but provides no
       4    grounds for relief other than those under Civil Rule 60 (b) (1),
       5    the Debtor's request for relief under Civil Rule 60(b) (6) is also
       6    denied. Lafarcie Conseils Et. Etudes, S.A. v. Kaiser Cement &
       7    Gypsum Corp., 791 F.2d 1334, 1338 (9th Cir. 1986) ("A motion
        8   brought under [Civil Rule] 60(b) (6) must be based on grounds
       9    other than those listed in the preceding clauses.")
      10
      11    Conclusion
      12         For all the foregoing reasons,
      13         IT IS ORDERED that the Debtor's motion for reconsideration
      14    is DENIED.

       15        IT IS FURTHER ORDERED that the hearing on the Debtor's
       16   motion for reconsideration set for November 5, 2019, at 9:30 a.m.
       17   is VACATED.
       18        Dated: November 5, 2019.
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      20
                                       UNITED STATES BANKRUP CY JUDGE
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                           UNITED STATES BANKRUPTCY COURT
                                 Eastern District of California

                                  Honorable Christopher D. Jaime
                                  Bankruptcy Judge Sacramento,
                                            California

                                  October 8, 2019 at 2:00 p.m.


         19-21640-B-11 DEBORA MILLER-ZURANICH             STATUS CONFERENCE RE   VOLUNTARY
         Thru *2         Peter L. Cianchetta              PETITION
                                                            3-18-19 Li]
         19-21640-B-11 DEBORA MILLER-ZtJRANICH
 PLC-7              Peter L. Cianchetta




       19-25054-B-11 MB REALTY INC.
     Richard L. Jare MOTION TO EMPLOY
      STANLEY CORNELIUS AS REALTOR(S)
                        9-12-19 [11011




 CONTINUED STATUS CONFERENCE RE: VOLUNTARY
 PETITION 8-12-19 [1]




                                  October 8, 2019 at 2:00 p.m.
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                                            Appx. A
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 4.     19-23088-B-12 GEORGE/JANIEL AGUIAR                     TO SUBSTITUTE PARTY
                   Thomas L. Amberg MOTION                     9-9-19

 This matter is resolved without oral argument.  No appearance at the hearing is
 required. Removed from calendar. The court will issue an Order.




 S.    18-25889-B-11 JAMES MARSHALL AND DANIEL     OBJECTION TO CLAIM OF LOUISE
 DL-11            JOHNSON                    AWENDER, CLAIM NUMBER 11 Walter R.
 Dahl             8-13-19 [221]


 This matter is resolved without oral argument.  No appearance at the hearing is
 required. Removed from calendar. The court will issue an Order.
       19-21640-B-11 DEBORA MILLER-ZURANICH        MOTION TO DISMISS
 WW-2             Peter L. Cianchetta Thru         CASE 10-1-19 [123]
 #7 See Also #1-2




        19-21640-B-11 DEBORA MILLER-ZURANICH
 TJTK-1            Peter L.
 Cianchetta MOTION
 TO RECONVERT CASE FROM CHAPTER
 11 TO
 CHAPTER 7 AND/OR MOTION TO
 DISMISS CASE
 9-30-19




                                October 8, 2019 at 2:00 p.m.
                                        Page 2 of 2
Filed 11/05/19                                 Case 19-21640             Doc 169



        1                              INSTRUCTIONS TO CLERK OF COURT
                                                SERVICE LIST
       2
                 The Clerk of Court is instructed to send the attached
       3    document, via the ENC, to the following parties:
       4    Peter L. Cianchetta
            8788 Elk Grove Blvd. Ste. 2A

       I    Elk Grove CA 95624

       71 Dean T. Kirby
          707 Broadway, Suite 1750
          San Diego CA 92101
       8
       9    Jonathan C. Cahill
            4375 Jutland Dr #200
      10    P0 Box 17933
            San Diego CA 92 177-0933
      11
      12    Aaron A. Avery
            2150 River Plaza Dr #450
      ism   Sacramento CA 95833
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       15
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       WE


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